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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
CHIRAG SHAH,                        |
                                    |
      Plaintiff,                    |
                                    |
      vs.                           |   Civil Action No. 1:13CV1481 AJT/JFA
                                    |
SOUTHWEST AIRLINES, et al.,         |
                                    |
      Defendants.                   |
___________________________________ |

                  MEMORANDUM OF POINTS AND AUTHORITIES
                         IN OPPOSITION TO PLAINTIFF’S
                MOTION IN LIMINE FOR CERTAIN PRE-TRIAL ORDERS

I.       INTRODUCTION

                Plaintiff’s Memorandum begins with a section labeled “Facts.” It would more

accurately be labeled “Misleading Argument.” The substance is minimally relevant to the motion

with which it was presented but does serve to highlight the importance of excluding from

evidence the statement by the uninvolved “B” flight attendant, Ava Alley, in her Irregularity

Report that “2 middle eastern looking men” were removed from the airplane.1 Alley’s reference

to “middle eastern looking” is the only such reference in the whole record, but plaintiff’s counsel

already have shown how they would run with it at trial if not precluded from doing so.

                They begin with a quote from a New York Times article, noting that, while “[i]t

was unclear Monday evening who might be responsible for the blast[, …] investigators … were

speaking to a Saudi citizen ….”2 Without any indication from the article or elsewhere that this

information was disseminated before Southwest’s crewmembers boarded Flight 392 (which was

scheduled to depart from Dulles at 6:10 p.m. that day), they then assert—without citation—that

“between the time of the bombing and the time the New York Times posted its first story online

1
    Southwest moved in Doc. No. 42 to exclude it.
2
    Doc. No. 44 at 2.


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[which time is noted neither in the article nor in plaintiff’s memorandum but likely was after the

crew had boarded Flight 392],3 speculation was already running rampant that people from the

Middle East, presumably a Saudi national or member of the Muslim faith, were responsible for

the explosions.”4

               They then assert that Shannon Ramos and Regina Paschall “decided that these

two ‘Middle Eastern looking’ men might know each other,”5 implying that Ramos and Paschall

had referred to the two passengers as “Middle Eastern looking” and were aware of news blaming

the Boston bombing on people from the Middle East. And, for good measure, they state that

“Captain Cannon … later describe[ed] them as ‘Middle Eastern looking.’”6

               It is easy to distort the record when one skips the customary step of citing to the

record to support one’s assertions.7 What the record actually reflects, however, is that Ava Alley

was the only member of Flight 392’s crew that referred to either of the removed passengers as

“Middle Eastern looking,” and she was not involved in the incident.8 The Irregularity Reports of

the other crewmembers that plaintiff seeks to exclude from evidence as hearsay address

behaviors, not appearances.9 The involved crewmembers, at least the two who were asked about

it in their depositions, had no preconceived notions about the race, religion, or nationality of the

3
  The article refers to what the FBI did “Monday night,” suggesting it could not have been
written before Monday night.
4
  Doc. No. 44 at 2. Nonetheless, the article continues: “Some law enforcement officials noted
that the blasts came at the start of a week that has sometimes been seen as significant for radical
American antigovernment groups …..” Doc. 45-1.
5
  Doc. No. 44 at 3.
6
  Id.
7
  Other examples here are: (1) plaintiff’s Hindu faith; (2) that plaintiff, during his deposition,
identified the other removed passenger’s Hindu name as being common in the southern part of
India; and (3) that plaintiff had “high-level security clearances.” The record does not reflect
plaintiff’s religion, and the word Hindu does not even appear in his deposition. See Doc. No. 36-
17. Plaintiff testified that his clearances are of the “public trust” variety. Doc. No. 36-17 at 25-8.
8
  Doc. No. 41 at 1-2.
9
  Doc. Nos. 36-2, 36-7, 36-14, 36-16.


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person or persons who might have perpetrated the Boston Marathon bombing.10 And Captain

Cannon used the phrase “Middle Eastern” only when asked in his deposition whether he had

“any idea based on their complexion what part of the world they were from?” He then

responded, “I suppose if I had to designate it they would appear Middle Eastern.” 11 The

remainder of the motion is an effort to strip from the trial the very relevant context of security

concerns that airlines have and the reasons that they have them in this strange post 9-11 world.

               Plaintiff seeks a variety of in limine orders. We will take them in the order they

appear in plaintiff’s motion and memorandum.

II.    LIMITING ORDERS REQUESTED BY PLAINTIFF

       A.      Given plaintiff’s punitive damage claim, the irregularity reports are
               admissible other than for the truth of the matters asserted, as corporate
               knowledge, but they also stand admitted pursuant to this Court’s Order
               dated January 17, 2014, and they qualify as business records under Fed. R.
               Evid. 803(6).

               The irregularity reports prepared by Captain Cannon and Flight Attendants

Shannon Ramos and Regina Paschall are admissible for three different reasons. First, they are

admissible other than for the truth of the matters asserted. Plaintiff argues that “the only reason

Defendants [sic] would have to seek their admission would be to prove the versions of events




10
   Cannon Deposition (Doc. No. 36-6) at 26-7 (“Q. You said you had heard about the Boston
Marathon bombing that morning; is that correct? A. I believe it was early afternoon, yes, that’s
correct. Q. And at the time that you heard about that bombing did you know anything about the
identity of the assailants in the Boston bombing? A. No. Q. Based on what you had heard did
you know or assume that the Boston bombing was a terrorist attack? A. Yes. Q. Did you have
any assumptions about the identity, or national origin, or the religion of people involved in the
Boston Marathon bombing? A. No.”); Paschall Deposition (Doc. No. 36-13) at 33-4 (“Q. At the
time of the flight were you aware of what had happened in Boston, the Boston bombing? A. I
had watched it on the news, yes. Q. Did you at that point know anything about the nationality of
the people involved in the bombing? A. At that time I don’t think any of that was known. It was
basically it had happened and they weren’t sure who had done it or –”).
11
   Cannon Deposition (Doc. No. 36-6) at 36.


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contained in the Irregularity Reports.”12 Plaintiff ignores that he is seeking an award of punitive

damages and that the claim to punitive damages makes Southwest’s response to the incident—

and therefore the irregularity reports that informed the response—relevant whether or not true.

As we already have briefed in the portion of our motion for summary judgment seeking

summary adjudication or partial summary judgment on the claim for punitive damages,

Southwest’s response to the incident is relevant on the question of whether Southwest ratified

discriminatory conduct.13 Southwest management’s knowledge of the circumstances comes

through the submission of the irregularity reports.14 The reports, therefore, are independently

admissible for this purpose whether or not they constitute hearsay.15




12
   Doc. No. 44 at 6.
13
   See Doc. No. 37 at 21, 27-9.
14
   Cannon Deposition (Doc. No. 36-6) at 10 (“Q. Can you explain to us what the function of an
irregularity report is? A. Whenever there’s an occurrence out of the ordinary during a flight, or
before a flight even, it’s a way of conveying the information to Southwest Management the
events of what occurred.”); Declaration of Donald Brent Harper (attached as Exhibit 1)
(hereinafter “Harper Decl.”); Declaration of Robert Timothy Leonard (attached as Exhibit 2)
(hereinafter “Leonard Decl.”).
15
   See, e.g., Arrington v. E.R. Williams, Inc., 490 Fed. Appx. 540, 544, 2012 U.S. App. LEXIS
16046 (4th Cir. 2012) (attached as Exhibit 3) (“Here, as the district court properly ruled,
evidence of employee and client complaints about Arrington’s performance was considered
because ERW and Williams’s ‘decisionmaking was under challenge, and [they] explained it on
the basis of the information [they] received,’ Crockett v. Abraham, 284 F.3d 131, 134 (D.C. Cir.
2002). Where, as here, ‘third-party statements concerning the plaintiff’s performance are offered
not for the truth of the matters asserted therein, but as an explanation of why [the employer]
believed that terminating the plaintiff’s employment … was necessary and appropriate,’
evidentiary rules governing the consideration of hearsay are not implicated.”); Luckie v.
Ameritech Corp., 389 F.3d 708, 716 (7th Cir. 2004) (“Neither of the two statements at issue is
hearsay because they were not offered to prove the truth of the matter asserted…. Rather, each
statement was offered to show Patterson’s state of mind at the time she was evaluating Luckie’s
performance.”); Warren v. Tri Tech Labs., Inc., No. 6:12-cv-00046, 2014 U.S. Dist. LEXIS 8643
(W.D. Va. Jan. 23, 2014) (citing Arrington).


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               Second, the Cannon, Ramos, and Paschall irregularity reports stand admitted

pursuant to this Court’s January 17, 2014 Order.16 Plaintiff listed all three on his exhibit list and

Southwest did not object.17 Interestingly, plaintiff also listed the irregularity report prepared by

Flight Attendant Ava Alley and Southwest objected to this report and did not include it on its

exhibit list.18 Therefore, plaintiff has moved to exclude a report that he, but not Southwest,

included on the exhibit list. For obvious reasons, we have no objection to this aspect of the relief

sought by plaintiff.

               The irregularity reports also qualify under the business records exception to the

hearsay rule, Rule 803(6) of the Federal Rules of Evidence. This is the area to which the section

of plaintiff’s brief on irregularity reports is devoted, and we review each of the alleged

deficiencies and demonstrate why the irregularity reports also qualify for admission as business

records over plaintiff’s hearsay objection.

               The Federal Rules of Evidence provide:

               The following are not excluded by the rule against hearsay,
               regardless of whether the declarant is available as a witness:

                                          *      *       *

               (6) Records of a Regularly Conducted Activity. A record of an
               act, event, condition, opinion, or diagnosis if:
               (A) the record was made at or near the time by—or from
               information transmitted by—someone with knowledge;
               (B) the record was kept in the course of a regularly conducted
               activity of a business, organization, occupation, or calling, whether
               or not for profit;
               (C) making the record was a regular practice of that activity;
               (D) all these conditions are shown by the testimony of the
               custodian or another qualified witness, or by a certification that


16
   Doc. No. 6 (“Objections to exhibits must be filed within 10 days after the conference;
otherwise the exhibits shall stand admitted in evidence.”).
17
   Doc. No. 31, Exhibits 5-7; Doc. No. 33.
18
   Doc. Nos. 26, 31, 33.


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               complies with Rule 902(11) or (12) or with a statute permitting
               certification; and
               (E) neither the source of information nor the method or
               circumstances of preparation indicate a lack of trustworthiness.19

               The record evidence establishes that the irregularity reports satisfy the business

records exception.20 Nonetheless, plaintiff argues against admitting the reports as business

records on the grounds that: (1) they are self-serving;21 (2) they are “irregularity reports” and,

therefore not “records of a regularly conducted activity”;22 (3) they were not submitted at or near

the time of the events;23 and Ms. Ramos and Ms. Paschall had ulterior motives, making them

“unreliable sources.”24




19
   Fed. R. Evid. 803(6).
20
   The qualification of the irregularity reports is shown through the testimony of the Southwest
witnesses plaintiff has deposed. E.g., Paschall Deposition (Doc. No. 36-13) at 6-7 (“A. This is an
irregularity report. Q. And what is an irregularity report? A. It is a report that is required to be
written if there is any irregular -- anything that happens irregular during your flight. Q. And on
the report it’s indicated that you created the report; is that correct? A. Yes. Q. And you recognize
the document because you wrote it; is that correct? A. Yes. Q. And how often do you file these
irregularity reports? A. You only need to do it if something happens irregular during your trip or
your day.”); Cannon Deposition (Doc. No. 36-6) at 10 (“Q. Can you explain to us what the
function of an irregularity report is? A. Whenever there’s an occurrence out of the ordinary
during a flight, or before a flight even, it’s a way of conveying the information to Southwest
Management the events of what occurred. Q. And do you make these reports regularly? I mean is
this something common or is it very rare? A. It’s fairly common. I believe I average about maybe
two a year. Q. And is it usually for the same kind of purpose if there’s a passenger issue on the
plane? A. It can be a passenger issue, it can be a mechanical issue, it can be air traffic control
related. It’s really a wide range of possibilities.”); Ramos Deposition (Doc. No. 36-15) at 22 (“Q.
And what exactly is an irregularity report? A. An incident report if anything happens on the
aircraft out of the -- well, for a lot of reasons. It’s an incident report. Q. And on Page 2 of the
document it’s indicated that you created that report; is that correct? A. Yes, I created this
report.”). To the extent any additional foundation testimony is necessary, Southwest will present
it, either by certification or by live witnesses, at trial.
21
   Doc. No. 44 at 4.
22
   Doc. No. 44 at 6-7.
23
   Doc. No. 44 at 7.
24
   Id.


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               1.      That evidence is self-serving is not a valid objection.

               “All testimony — and all documents — offered by or on behalf of a party may

fairly be said to be self-serving; why else would they be offered[?]”25 The Fourth Circuit has

observed that the objection that evidence is self-serving “is a misnomer that ought to be interred.

It has long obscured the proper application of the hearsay rule to the reception of evidence, and is

not an independent ground for objection.”26 “Whether self-serving, neutral, or disserving, a

hearsay statement that does not fit within one of the exceptions to the hearsay rule is

inadmissible, and the reverse is true.”27 Thus, the issue is not whether the evidence is self-serving

but whether it meets the applicable evidentiary rules.

               2.      It can be the regular practice of a business to make irregularity
                       reports.

               Plaintiff’s objection to the irregularity reports based on their title reflects a

misapprehension of the Rule’s two “regularity” requirements. “To qualify under Rule 803(6), the

records must, first, have been kept in the course of a regularly conducted activity of a business,

occupation, or calling.”28 Second, the “making the record” must be “a regular practice” of the

regularly conducted activity, whether it records a routine or a non-routine event or condition.29

For example, the Fifth Circuit has approved the admission of a logbook that recorded

malfunctions of an industrial machine that was the subject of the lawsuit.30 While malfunctions,


25
   Maher v. City of Chicago, 406 F. Supp. 2d 1006, 1014 (N.D. Ill. 2006), aff’d, 547 F.3d 817
(7th Cir. 2008).
26
   Chestnut v. Ford Motor Co., 445 F.2d 967, 972 (4th Cir. 1971).
27
   Chestnut, 445 F.2d at 972 (emphasis added).
28
   5 Weinstein’s Federal Evidence § 803.08 (Matthew Bender & Co. 2014) (construing Fed. R.
Evid. 803(6)(B)).
29
   Fed. R. Evid. 803(6)(C).
30
   Gulf South Machine, Inc. v. Kearney & Trecker Corp., 756 F.2d 377, 381 (5th Cir. 1985)
(“The record shows that GSM kept logbooks of problems for most if not all of its machines and
that the keeping of logbooks on machines was a regular practice even before the [machine at
issue] was acquired.”).


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by definition, are not routine, the company’s documentation of malfunctions was routine.

Similarly, the Seventh and Eighth Circuits have approved the use of reports on the disciplining of

employees as business records.31 Employee discipline is not routine, but the companies’

documentation of the discipline was their regular practice.

                 When the theory behind Rule 803(6) is considered, it makes sense that reports

such as Southwest’s irregularity reports should qualify.

                 “Reports and documents prepared in the ordinary course of
                 business are generally presumed to be reliable and trustworthy.” …
                 Records of that sort are considered trustworthy because
                 “businesses depend on such records to conduct their own affairs;
                 accordingly, the employees who generate them have a strong
                 motive to be accurate and none to be deceitful” and secondly,
                 because “routine and habitual patterns of creation lend reliability to
                 business records.”… In determining admissibility courts are to
                 consider “the character of the records and their earmarks of
                 reliability … from their source and origin and the nature of their
                 compilation.”32

                 Southwest’s irregularity reports meet both regularity requirements. The regularly

conducted activity is Southwest’s conduct of commercial flight (i.e., air carrier) operations. The

preparation of irregularity reports is “a regular practice” of the air carrier operations because

Southwest requires its crewmembers and agents to submit irregularity reports in a broad variety

of situations.

                 Crewmembers are required to submit irregularity reports for events ranging from

the failure of a handheld device used to charge an alcoholic beverage on a credit card to the birth




31
   Coates v. Johnson & Johnson, 756 F.2d 524, 549-50 (7th Cir. 1985) (employee discipline
reports admitted as business records).
32
   Rambus, Inc. v. Infineon Techs. AG, 348 F. Supp. 2d 698, 702 (E.D. Va. 2004) (quoting
Palmer v. Hoffman, 318 U.S. 109, 114 (1943), and Certain Underwriters at Lloyd’s, London v.
Sinkovich, 232 F.3d 200, 204-05 (4th Cir. 2000)), aff’d in part, rev’d in part on other grounds,
vacated, and remanded, 318 F.3d 1081 (Fed. Cir. 2003).


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of a baby on the airplane or a passenger being injured from an encounter with turbulence.33

Requirements for crewmembers to submit irregularity reports appear throughout Southwest’s

Flight Operations Manual (applicable to the pilots),34 the Flight Attendant’s Manual,35 and

elsewhere. For example,

        the Southwest Boeing 737 Airplane Operating Manual requires an irregularity report to
         be submitted if an airplane is landed at higher than the maximum specified landing
         weight;36

        both the Flight Operations Manual and the Flight Attendant Manual require the
         crewmembers to submit irregularity reports any time a tarmac delay exceeds two hours;37

        the Flight Attendant Manual requires each flight attendant working the flight to file an
         irregularity report when any one flight attendant believes an irregularity report is
         necessary;38

        the Flight Operations Manual requires an irregularity report from the captain for any
         event involving security procedures (e.g., TSA, FFDO, Flight Deck Crew screening).39

                Southwest uses irregularity reports as the means of conveying information about

abnormal flight and cabin operations to management.40 Management, in turn, relies on the

irregularity reports to make required reports to government authorities (e.g., DOT, FAA, NTSB,

TSA) within the requisite timeframes, assist in accident and incident prevention, improve

customer service, evaluate and change procedures, restock emergency equipment, discipline

employees, and the like.41 It is the corporate reliance on these reports in managing its affairs and


33
   Harper Decl. at ¶¶ 4-9; Leonard Decl. at ¶¶ 4-7.
34
   Leonard Decl. at ¶¶ 4-5.
35
   Harper Decl. at ¶¶ 4-5.
36
   Leonard Decl. at ¶ 5.
37
   Leonard Decl. at ¶ 7(c); Harper Decl. at ¶ 9(cc).
38
   Harper Decl. at ¶ 7.
39
   Leonard Decl. at ¶ 7(b).
40
   Cannon Deposition (Doc. No. 36-6) at 10 (“Q. Can you explain to us what the function of an
irregularity report is? A. Whenever there’s an occurrence out of the ordinary during a flight, or
before a flight even, it’s a way of conveying the information to Southwest Management the
events of what occurred.”); Harper Decl. at ¶ 13; Leonard Decl. at ¶¶ 11-12.
41
   Harper Decl. at ¶ 13; Leonard Decl. at ¶¶ 11-12.


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 the corporate duty of the employees to accurately report that gives irregularity reports the

 trustworthiness that is the hallmark of Rule 803(6).42

                3.      The irregularity reports were prepared near the time of the events
                        they describe.

                The irregularity reports were prepared anywhere from the morning following

 Flight 392 to the third morning following the flight, and they were prepared by persons with

 first-hand knowledge of what they reported. The half-day to two-and-a-half day space between

 event and report preparation easily satisfies the “near the time” requirement of Rule 803(6).

                The “at or near the time” requirement is flexible and practically applied.43 It

 “depends on whether the time span between the transaction and the entry was so great as to

 suggest a danger of inaccuracy by lapse of memory.”44 Thus, if the record in question recorded

 micrometer measurements to five decimal places, a delay of an hour might be too much. A

 period of years probably will be too long.45 Where—as here—we are dealing with reports of



 42
    E.g., Doali-Miller v. SuperValu, Inc., 855 F. Supp. 2d 510, 516 (D. Md. 2012) (quoting
 Certain Underwriters at Lloyd’s, London v. Sinkovich, 232 F.3d 200, 204-05 (4th Cir. 2000))
 (internal quotation marks omitted) (“businesses depend on such records to conduct their own
 affairs; accordingly, the employees who generate them have a strong motive to be accurate and
 none to be deceitful.”); accord Webster v. ACB Receivables Mgmt., No. SKG-12-3620, 2014
 U.S. Dist. LEXIS 55575, at *29 (D. Md. Apr. 22, 2014).
 43
    Michael H. Graham, 30C Federal Practice and Procedure, § 7047 (West 2011 Interim Edition).
 In Missouri P. R. Co. v. Austin, 292 F.2d 415, 422-23 (5th. Cir. 1961), the Fifth Circuit explained
 the requirement as follows:
        The requirement that the regular course of business included a timely recording is
        not to be [stingily applied]. Dealing with business records, account must be taken
        of practical considerations. This second element is not to be judged, then, by
        arbitrary or artificial time limits, measured by hours or days or even weeks. That
        will depend on the nature of the information recorded, the immutable reliability of
        the sources from which drawn and similar factors.
 44
    2 McCormick on Evidence, § 289 (Thomson Reuters 2013).
 45
    E.g., Goldsmith v. Commissioner, 86 T.C. 1134, 1145 (1986); Webster v. ACB Receivables
 Mgmt., No. SKG-12-3620, 2014 U.S. Dist. LEXIS 55575, at *30 (D. Md. Apr. 22, 2014); Yisrael
 v. State, 993 So. 2d 952, 957 (Fla. 2008).


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 events on board an airplane, several days is “near the time.”46 Consider that this flight crew was

 on a trip not only from Dulles to Denver, but then from Denver to Phoenix.47 As a practical

 matter, the very earliest the reports could have been prepared was on April 16th, when three of

 them were prepared. The latest report was delayed two days because its author had to care for

 two young children and a parent with Alzheimer’s while her husband was away on business.48

                Plaintiff offers neither argument nor case law to explain why periods of half-a-day

 or two-and-a-half days between the events and the submission of the reports make the danger of

 inaccuracy due to lapse of memory too great. In one case, where the objector similarly offered no

 argument or case law to support a conclusion of not being “at or near the time,” the Seventh

 Circuit deemed the issue waived.49

                4.     Plaintiff has not met his burden to show that the irregularity reports
                       are untrustworthy and, in any event, they are trustworthy.

                Despite the fact that he bears the burden of establishing a lack of

 trustworthiness,50 plaintiff offers nothing but the meager assertion that “Ramos and Paschall are


 46
    See, e.g., Schmutz v. Bolles, 800 P.2d 1307, 1312 (Colo. 1990) (incident reports within a few
 days of malfunctions of medical equipment probably sufficiently close in time to qualify).
 47
    Declaration of Shannon Ramos (attached as Exhibit 4) (hereinafter “Ramos Decl.”) at ¶ 2.
 48
    Id. at ¶¶ 3-5.
 49
    Wheeler v. Sims, 951 F.2d 796, 804 (7th Cir. 1992) (“Wheeler argues that some of the
 memoranda in Exhibit 11 were inadmissible under Rule 803(6) because they were ‘prepared long
 after the alleged events described therein.’ The specific argument is that since Document 1 was
 prepared nine days after the event, Document 2 was prepared three days after the event,
 Document 3 was prepared five days after the occurrence, Document 5 reported some incidents
 without stating when they occurred and Document 6 was prepared eleven days after the event,
 the memoranda were not prepared ‘at or near the time’ as required under Rule 803(6). As the
 appellant has failed to support his argument with any legal reasoning or case law interpreting ‘at
 or near the time,’ we deem this argument to be waived.… Moreover, because no decision has
 been presented to us and we have not uncovered any case law in support of the theory that an
 eleven-day interval is excessive, we believe this period of time is within the proper and logical
 interpretation of ‘at or near the time’ under Rule 803(6)).”
 50
    E.g., Jordan v. Binns, 712 F.3d 1123, 1136 (7th Cir. 2013) (recognizing that the opponent of
 admission of the business record had the burden of proving untrustworthiness); Shelton v.
 Consumer Prods. Safety Comm’n, 277 F.3d 998, 1010 (8th Cir. 2002) (“Once the offering party


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 probably unreliable sources of information ….”51 “[B]ecause their requests had delayed Flight

 392,” he argues, “they would have an interest in using the Irregularity Reports to justify their

 actions to their superiors.”52 Plaintiff cannot point to any aspect of the irregularity reports subject

 to any real question. The circumstances of their preparation and their content, in fact,

 demonstrate trustworthiness.

                The irregularity reports prepared by flight attendants Paschall and Ramos were

 prepared without collaboration by two people who did not know each other prior to Flight 392



 Continued from previous page
 has met its burden of establishing the foundational requirements of the business records
 exception, the burden shifts to the party opposing admission to prove inadmissibility by
 establishing sufficient indicia of untrustworthiness.”); In re Japanese Elec. Prods. Antitrust
 Litig., 723 F.2d 238, 288 (3d Cir. 1983) (“Placing [the burden of showing lack of trustworthiness
 of a business record] on the party opposing admission was correct.”), rev’d and remanded on
 other grounds, Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986); Black
 Diamond Energy, Inc. v. Encana Oil & Gas (USA) Inc., 326 P.3d 904, 917 (Wyo. 2014) (“The
 party objecting to the admission of a business record has the burden of establishing that a lack of
 trustworthiness should keep the document out of evidence.”); Lacy v. CSX Transp., Inc., 520
 S.E.2d 418, 437 (W. Va. 1999)) (“[A] record of a regularly conducted activity that meets the
 foundational requirements of Rule 803(6) is presumptively trustworthy, and the burden to prove
 that the proffered evidence was generated under untrustworthy circumstances rests upon the
 party opposing its admission.”). See also Certain Underwriters at Lloyd’s, London v. Sinkovich,
 232 F.3d 200, 204-05 (4th Cir. 2000) (noting a presumption of trustworthiness for records kept in
 the regular course of business); United States v. Tsoa, No. 1:13cr137 (JCC), 2013 U.S. Dist.
 LEXIS 155089 (E.D. Va. Oct. 29, 2013) (“The theory behind this exception is that ‘[r]eports and
 documents prepared in the ordinary course of business are generally presumed to be reliable and
 trustworthy.’”); Summary of The Report of The Judicial Conference Committee on Rules of
 Practice and Procedure,
 http://www.uscourts.gov/uscourts/RulesAndPolicies/rules/Reports/ST09-2013.pdf. (last viewed
 on July 15, 2014) at pp. 30-31(observing that “[m]ost courts impose the burden of proving
 untrustworthiness on the opponent …,” and explaining that committee’s proposal was to
 expressly include this in the wording of the Rule); Letters from Chief Justice John Roberts (Apr.
 25, 2014) transmitting “the amendments to the Federal Rules of Evidence that have been adopted by
 the Supreme Court of the United States (last viewed at
 http://www.supremecourt.gov/orders/courtorders/frev14_3318.pdf (changing subsection (E) to
 read: “the opponent does not show that the source of information or the method or circumstances
 of preparation indicate a lack of trustworthiness.”).
 51
    Doc. No. 44 at 7.
 52
    Id.


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 and who have not worked together since.53 Any comparison of the reports (as well as the

 Captain’s) shows that, without reciting the events identically, they describe the same events and

 —therefore—corroborate one another. Moreover, while he might characterize his behavior

 differently, plaintiff’s testimony goes a long way to supporting, rather than questioning, the

 content of the reports. The table attached as Exhibit 5 highlights the trustworthiness of the

 irregularity reports by comparing the content of the Ramos and Paschall irregularity reports with

 one another and with plaintiff’s statements.54

                5.      Declarant availability is irrelevant to this exception to the hearsay
                        rule.

                Plaintiff closes this section of his argument with the assertion that “it is not

 necessary to admit the Irregularity Reports into evidence since any of the four Southwest

 employees who prepared the reports would be available to testify at trial ….” This assertion

 misses the point. The very title of Rule 803 is “Exceptions to the Rule Against Hearsay –

 Regardless of Whether the Declarant Is Available as a Witness.”55 Records that qualify under

 Rule 803(6) “may be admitted even though the author is alive, well, and even in court.”56




 53
    Ramos Deposition (Doc. No. 36-15) at 5 (“Q. And was that the first time you had worked with
 Miss Regina Paschall? A. Yes. Q. Have you worked with her since? A. No. Q. Do you know
 Miss Paschall outside of work? A. No.”), 6 (explaining that the first time after April 15 ,2013
 that she spoke with Ms. Paschall was after they learned the lawsuit had been filed); Paschall
 Deposition (Doc. No. 36-13) at 5 (she had never worked with Shannon Ramos before and did not
 know her outside of work), 6, 39 (she did not speak with Shannon Ramos after the flight until
 after she was asked to give her deposition in this case).
 54
    While the content of the reports is unchanged in the table, the order is changed so as to line up
 similar topics across rows.
 55
    Fed. R. Evid. 803 (emphasis added).
 56
    1-9 Art of Advocacy - Documentary Evidence § 9.06 (Matthew Bender & Co. 2014); 2
 McCormick on Evidence, § 289 (Thomson Reuters 2013). Of course, the flipside is true in this
 case. Plaintiff deposed each of the authors of the irregularity reports and questioned them about
 their reports.


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        B.      The real-world context of threats to aviation security is highly relevant to the
                question the jury will be asked to decide: whether Captain Cannon acted
                arbitrarily or capriciously in excluding plaintiff from Flight 392.

                In argument section II of his memorandum, plaintiff seeks to have this case tried

 in a vacuum. In his view, the jury should learn nothing about the nature of the world in which

 Southwest operates. Examples of evidence that should be suppressed include Richard Reid, the

 shoe bomber, and any mention of 9/11 other than “oblique references to the September 11, 2001

 terrorist attacks for the sole purpose of discussing the distinction between security procedures

 before and after that date.”57 The less the jury knows about the “bad guys,” in plaintiff’s view,

 the better. Plaintiff’s narrow view of what is relevant is exemplified by his assertion that “the

 only facts that are relevant are facts relating to what was happening on the airplane and at Dulles

 International Airport on April 15, 2013.”58 Respectfully, we disagree.

                The only way a jury could properly assess whether or not plaintiff’s exclusion

 from Flight 392 was arbitrary or capricious is to have context. A jury that knows only “facts

 relating to what was happening on the airplane and at Dulles International Airport on April 15,

 2013” is a jury that lacks context. But context is “relevant.”59 “Evidence is relevant if: (a) it has

 any tendency to make a fact more or less probable than it would be without the evidence; and (b)

 the fact is of consequence in determining the action.”60




 57
    Doc. No. 44 at 8.
 58
    Doc. No. 44 at 10.
 59
    See, e.g., Banks v. Workman, 692 F.3d 1133, 1148 (10th Cir. 2012) (“The jury was entitled to
 know the context in which Mr. Banks made his statement, a context shedding light on his
 motives for speaking with the police and the likely truthfulness of his claim he had nothing to do
 with the rape or killing.”); Dias v. Sky Chefs, Inc., 919 F.2d 1370, 1375 (9th Cir. 1990) (“The
 jury was entitled to consider that context and the intent behind the manager’s specific acts in its
 determination of outrageousness.”), vacated on other grounds and remanded, 501 U.S. 1201
 (1991).
 60
    Fed. R. Evid. 401.


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                The context of efforts by terrorists to do harm, massive harm, attention-getting

 harm, is relevant. Context, in the words of Rule 401, “has a[] tendency to make a fact more or

 less probable than it would be without the evidence; and (b) the fact is of consequence in

 determining the action.” The fact we intend to prove is that Captain Cannon’s decisions to return

 the airplane to the gate and not to allow the plaintiff to reboard were neither arbitrary nor

 capricious. The importance of context is plain. Senior District Judge Debevoise of the District of

 New Jersey hit the nail on the head in Dasrath v. Continental Airlines, Inc., 467 F. Supp. 2d 431

 (D.N.J. 2006), where he explained: “The objective assessment of a carrier’s decision must take

 into account all the circumstances surrounding the decision, including the (perhaps limited) facts

 known at the time; the time constraints under which the decision is made; and, not least, the

 general security climate in which events unfold.”

                Imagine that instead of Southwest Flight 392 leaving from Dulles to fly to Denver

 on April 15, 2013, plaintiff flew on the very first scheduled flight at Dulles on November 19,

 1962. According to the history books, that would have put him on an Eastern Air Lines Super

 Electra turboprop airplane flying from Newark to Dulles. Imagine now that one of the two flight

 attendants (referred to at the time as “stewardesses”) on the Electra entered the cockpit (yes, the

 cockpit door would not have been locked; in fact the door likely would have been wide open)

 just before takeoff from Newark and told the captain that she and the other flight attendants were

 very alarmed because two men in the front row were glancing about nervously and fidgeting.

 After the laughter from the three-man crew died down, the captain likely would have told the

 flight attendant “not to worry and be seated for takeoff.” But, if he had listened to her and

 returned to the gate to discharge the fidgety passengers, the answer to the question whether his




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 decision was arbitrary or capricious would be a very different one than with Flight 392. The

 reason for the difference is context.

                Much has happened since 1962 to provide the relevant context. What is relevant

 goes well beyond the “facts relating to what was happening on the airplane and at Dulles

 International Airport on April 15, 2013.” The crewmembers’ knowledge of what happened on

 9/11, of subsequent efforts by terrorists to bring down airplanes, and of continuing threats to

 aviation security is all highly relevant context in which this case must be decided.61

                Plaintiff’s fallback assertion, that if the evidence is relevant it should be excluded

 under Rule 403 because it would be unfairly prejudicial, also misses the mark. Rule 403 does not

 exclude evidence that will prejudice the objecting party’s case as a “consequence of the

 ‘legitimate probative force of the evidence.’”62 Rule 403 can be used only when the evidence

 would “invoke emotion in place of reason as a decision making mechanism” or create “a genuine

 risk that the emotions of the jury will be excited to irrational behavior.”63 Even then, the danger

 of “unfair prejudice” must “substantially outweigh[]” the probative value of the evidence.64

                Far from the case here, the context evidence is extraordinarily probative and the

 risk of an emotion-driven decision de minimis. Plaintiff expresses concern that “[m]ere mention

 of any dangerous terrorist figure could stoke jury members’ irrational fears.”65 Unfortunately,



 61
    The one narrow area in which we might agree with plaintiff is that terrorist acts, events, or
 efforts that have occurred since April 15, 2013, likely would not be relevant. That is the most
 that we can take from the quote from Williams v. Trans World Airlines on page nine of plaintiff’s
 memorandum.
 62
    United States v. Sarr, 678 F. Supp. 2d 433, 436 (E.D. Va. 2010) (citing United States v. Mohr,
 318 F.3d 613, 619 (4th Cir. 2003)), aff’d, 441 Fed. Appx. 178, 2011 U.S. App. LEXIS 15703
 (4th Cir. 2011).
 63
    Sarr, 678 F. Supp. 2d at 436 (quoting United States v. Queen, 132 F.3d 991, 998 (4th Cir.
 1997), and Mohr, 318 F.3d at 618).
 64
    Fed. R. Evid. 403.
 65
    Doc. No. 44 at 10.


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 such fears would not be irrational. It is those fears that justify our Federal Government’s

 expenditure of billions of dollars for the TSA’s passenger screening program, not to mention the

 cost to the industry of hardened cockpit doors, self-defense training, the arming of pilots, and

 numerous other aviation security countermeasures.66 Just this week, the former members of the

 9/11 Commission released, through the Bipartisan Policy Center, a report entitled Today’s

 Rising Terrorist Threat and the Danger to the United States: Reflections on the Tenth

 Anniversary of The 9/11 Commission Report.67 Some of the highlights from their new report on

 this subject include the following:

       The struggle against terrorism is far from over—rather, it has entered a new and
        dangerous phase…. al Qaeda in the Arabian Peninsula has advanced bombmaking
        capabilities and has already attempted several attacks on U.S. aviation targets. While the
        various al Qaeda spinoffs are primarily focused on regional conflicts, they hate the
        United States and will not forego opportunities to strike at the U.S. homeland…. America
        cannot afford to let down its guard. Strenuous counterterrorism efforts will remain a fact
        of our national life for the foreseeable future. 68

       Counterterrorism fatigue and a waning sense of urgency among the public threaten U.S.
        security. Many Americans think that the terrorist threat is waning—that, as a country, we
        can begin turning back to other concerns. They are wrong. The absence of another major
        attack on the homeland is a success in itself but does not mean that the terrorist threat has
        diminished. The threat remains grave, and the trend lines in many parts of the world are

 66
    The 2015 budget request for TSA is $7.3 billion. See Statement of John S. Pistole,
 Administrator, Transportation Security Administration, U.S. Department of Homeland Security
 Before the United States House of Representatives Committee on Appropriations Subcommittee
 on Homeland Security, March 25, 2014 (last viewed on July 21, 2014 at
 https://www.tsa.gov/sites/default/files/publications/TSA_HAC-HS_03-25-14.pdf). “Beginning
 [this week], the federal Sept. 11 security fee that helps fund the Transportation Security
 Administration will more than double on many new tickets sold. The fee on a basic domestic
 nonstop round-trip ticket will go to $11.20 from $5. A one-way trip will cost $5.60 instead of
 $2.50 per flight segment. What’s more, the current $10 per-ticket cap has been dropped, so a trip
 with multiple stops that last longer than four hours could see a whopping TSA fee multiplying
 with each additional leg of the itinerary.” For Travelers, This Summer's New Fee on Airline
 Tickets, The Wall Street Journal (July 2, 2014) (last viewed on July 21, 2014 at
 http://online.wsj.com/articles/for-travelers-this-summers-new-fee-on-airline-tickets-
 1404341606).
 67
    A copy of the report (hereinafter the “2014 Report”) is attached as Exhibit 6.
 68
    2014 Report at 7.


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        pointing in the wrong direction. We cannot afford to be complacent—vigorous
        counterterrorism efforts are as important as ever.69

       As 9/11 fades into the rearview mirror, we must keep in mind that terrorists have
        repeatedly targeted aircraft. It would be a mistake to retreat from post-9/11 gains or lose
        focus on this critical area.70

       In sum, the terrorist threat has evolved, but it is still very real and very dangerous. The
        absence of another 9/11-style attack does not mean the threat is gone: As 9/11 showed, a
        period of quiet can be shattered in a moment by a devastating attack.71

 It is these legitimate concerns, and the fears they generate, that inform the efforts that

 crewmembers take to ensure that their passengers, airplanes, selves, and even persons and

 property on the ground are protected.

                Plaintiff also asserts that “[m]ention of dangerous terrorist figures could …

 confuse the issues because it could lead jurors to make the baseless conclusion that Plaintiff’s

 behavior on the airplane on April 15, 2013 was similar to, for example, the behavior of the shoe

 bomber.”72 Plaintiff does not explain why a baseless conclusion should be expected, and

 Southwest has no intention of offering up names of terrorists without providing evidence to

 explain their relevance to the case.

        C.      Because Southwest’s defense would be severely, and unfairly, handicapped
                by such orders, Southwest’s experts should not be precluded from relying on
                Sensitive Security Information and the jury should understand the context of
                SSI to explain why certain information will not be shared.

                The thrust of plaintiff’s Argument section III is that, if one side or the other has to

 proceed to trial with a handicap, it should be Southwest. The problem with this suggestion is that

 it ignores the statutory means that plaintiff has had at his disposal to seek access to the SSI, it is

 contrary to the public policy behind 49 U.S.C. § 44902(b), and it fails to recognize that in


 69
    Id. at 8.
 70
    Id.at 29.
 71
    Id.at 15.
 72
    Doc. No. 44 at 10.


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 analogous situations such cases are dismissed as non-justiciable. Moreover, pertinent to these

 principal points, Southwest has acted in good faith with respect to SSI issues in this case and the

 jurors should understand that laws involving SSI may limit the evidence they will hear and that

 neither party is responsible for withholding information from them.

                 Plaintiff also exaggerates the degree to which Southwest’s case, or the anticipated

 testimony of Southwest’s experts, will rely on SSI. Review of the expert disclosure and reports

 (Doc. No. 45-2) reveals that much of the anticipated testimony is not SSI and has been disclosed.

 The principal themes are that crewmembers are trained to maintain situational awareness,

 observe passenger behaviors, note behavioral patterns that are out of the ordinary, heed gut and

 instinct, and “say something” if they “see something.” Moreover, Southwest will face similar

 handicaps with plaintiff’s security expert, who could not disclose SSI on which she claims to rely

 for her opinions.73

                 1.      Southwest has acted in the utmost good faith with respect to Sensitive
                         Security Information.

                 Plaintiff’s arguments suggest that Southwest somehow is to blame for his lack of

 access to Sensitive Security Information (hereinafter “SSI”), but that could not be further from

 the truth. Plaintiff writes:

        “[B]oth Southwest and TSA have refused to disclose any SSI to Plaintiff.”74

        “Southwest and its witnesses have consistently refused to produce anything designated as
         SSI or to testify concerning SSI. Moreover, the TSA has not responded to Plaintiff’s
         requests to release the SSI at issue here. Nor has Southwest taken the legal steps




 73
    Doc. No. 36-5 at 21, 24, 69 (“Q Okay. And is that SSI? A Yes. Q So you can’t tell me? A
 Right. I’d have to kill you. Q We wouldn’t want you to have to do that, so don’t tell me.”), 87-
 88, 91-92. Ms. Bryan testified that, despite her retirement from the Federal Government in 2007,
 she continues to receive SSI through consulting engagements. Id. at 19-21, 24, 29.
 74
    Doc. No. 44 at 12.


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        necessary to compel TSA to make the SSI public – despite the fact that Southwest’s case
        so heavily relies on the SSI content.”75

       “Southwest and its witnesses refuse to disclose the content of these trainings, procedures,
        and policies, and they refuse to take the legal steps necessary to compel the TSA to make
        the information public.”76

                Southwest has “refused to produce anything designated as SSI or to testify

 concerning SSI” because to do so is against the law.77 TSA takes seriously its SSI designations

 and terminates federal employees or pursues civil penalties against others for violations of its

 regulations.78 Southwest, in turn, takes seriously its obligations to protect SSI.

                In the process of working with TSA to facilitate its review of documents

 Southwest withheld from production, TSA advised counsel for Southwest:

                SSI may only be disclosed to “covered persons who have a need to
                know, unless otherwise authorized in writing by TSA.” Id. §
                1520.9(a)(2); see also U.S.C. § 114(r)…. Plaintiff and his attorney
                are not “covered persons who have a need to know.” Id. §
                1520.9(a)(2); see also id. § 1520.7 (defining “covered persons”).
                Southwest is prohibited from disclosing SSI to Plaintiff and his
                attorney without TSA’s express authorization.79

                As for “refus[ing] to take the legal steps necessary to compel the TSA to make the

 information public,” we do not wish—nor should we need—to tilt at windmills. SSI is protected

 and dissemination tightly limited because of policy decisions made in the halls of government.

 75
    Doc. No. 44 at 14.
 76
    Id.at 17.
 77
    49 U.S.C. § 114(r); 14 C.F.R. §§ 1520.7, 1520.9.
 78
    “Violation of this part is grounds for a civil penalty and other enforcement or corrective action
 by DHS, and appropriate personnel actions for Federal employees. Corrective action may include
 issuance of an order requiring retrieval of SSI to remedy unauthorized disclosure or an order to
 cease future unauthorized disclosure.” 49 C.F.R. § 1520.17. See, e.g., Lacson v. United States
 Dep’t of Homeland Sec. & Transp. Sec. Admin., 726 F.3d 170, 406 U.S. App. D.C. 402 (2013)
 (involving termination of federal air marshal who shared SSI); MacLean v. Dep’t of Homeland
 Sec., 543 F.3d 1145 (9th Cir. 2008) (involving termination of federal air marshal who shared a
 text message that federal air marshal’s would not be on overnight flights for a stated period) (a
 related case will be reviewed by the Supreme Court following grant of certiorari. Dep’t of
 Homeland Sec. v. MacLean, 134 S. Ct. 2290, 189 L. Ed. 2d 172 (U.S. 2014)).
 79
    Declaration of Jonathan M. Stern (attached as Exhibit 7) (hereinafter “Stern Decl.”) at ¶ 14.


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 TSA has extremely broad discretion to designate categories of information as SSI. 80 Only the

 federal courts of appeals have jurisdiction to review TSA’s determinations that particular

 information is SSI.81 The courts of appeals’ review of TSA is extremely circumscribed.82And the

 decision whether to disclose SSI belongs to TSA, the Coast Guard, or the Secretary of DOT,83

 not to Southwest.

                Southwest also has gone above and beyond the call of duty with respect to lending

 assistance to plaintiff to obtain TSA’s review for possible declassification from SSI status.84

 Southwest was under no legal obligation to do so but, nonetheless, took numerous steps to assist

 in and accelerate the process.85 Southwest’s counsel, in mid-March, initiated discussions with

 plaintiff’s counsel about the need to involve the TSA early in the process if he wished to have

 TSA review documents Southwest would be withholding from production for possible removal

 from the SSI categorization.86 At every step of the process, Southwest has assisted in that

 process.87




 80
    49 U.S.C. § 114(r); 49 C.F.R. § 1520.5(b); see, e.g., Robinson v. Napolitano, 689 F.3d 888,
 892 (8th Cir. 2012) (explaining that review of TSA’s SSI designations in the federal courts of
 appeals is limited to review for arbitrary and capricious classification).
 81
    49 U.S.C. § 46110; Blitz v. Napolitano, 700 F.3d 733, 735 (4th Cir. 2012) (“§ 46110 of Title
 49 vests exclusive jurisdiction in an appropriate court of appeals with respect to a challenge to an
 order issued by the Administrator of the Transportation Security Administration ….”);
 Chowdhury v. Northwest Airlines Corp., 226 F.R.D. 608, 614 (N.D. Cal. 2004) (“Congress,
 however, has determined that review of TSA non-disclosure determinations must be performed
 exclusively by the Court of Appeals.”).
 82
    Lacson v. United States Dep’t of Homeland Sec. & Transp. Sec. Admin., 726 F.3d 170, 171-2,
 406 U.S. App. D.C. 402 (2013).
 83
    See 49 C.F.R. § 1520.9
 84
    Stern Decl. at ¶¶ 3-21.
 85
    Id.
 86
    Stern Decl. at ¶ 3.
 87
    Id., at ¶¶ 3-21.


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                2.      Plaintiff has not sought to utilize the statutory means he has to access
                        the SSI.

                Plaintiff claims he is handicapped by his lack of access to SSI.88 But the

 alternative he urges, to preclude Southwest’s experts from considering SSI, is unfathomable.

 Moreover, plaintiff has, but has not invoked, a means of gaining access to the SSI for his use in

 this case, and he may have waited too long to invoke it, given the September 8th trial date.

                A federal statute enacted seven years ago provides a means for him to petition this

 Court to deem him a “covered person” under 49 C.F.R. § 1520.7 in order to gain “access to the

 SSI at issue in the case ….”89 The statute provides a means for a plaintiff in a civil action, or his

 counsel, to “be designated as a covered person under 49 CFR Part 1520.7 [sic] in order to have

 88
    For example, “Allowing Southwest to testify to the existence of secret training and procedures,
 without disclosing their content to the jury, would be highly prejudicial to Plaintiff ….” Doc. No.
 44 at 12.
 89
    Section 525(d) of the Department of Homeland Security Appropriations Act of 2007, Pub. L.
 No. 109-295, 120 Stat. 1355 (Oct. 4, 2006); see Ibrahim v. Dep't of Homeland Sec., No. C 06-
 00545 WHA, 2009 U.S. Dist. LEXIS 122598 (N.D. Cal., Dec. 17, 2009), aff’d in part and rev’d
 in part on other grounds, 669 F.3d 983 (9th Cir. 2012). Section 525(d) provides the following:
        That in civil proceedings in the United States District Courts, where a party
        seeking access to SSI demonstrates that the party has substantial need of relevant
        SSI in the preparation of the party’s case and that the party is unable without
        undue hardship to obtain the substantial equivalent of the information by other
        means, the party or party’s counsel shall be designated as a covered person under
        49 CFR Part 1520.7 in order to have access to the SSI at issue in the case,
        provided that the overseeing judge enters an order that protects the SSI from
        unauthorized or unnecessary disclosure and specifies the terms and conditions of
        access, unless upon completion of a criminal history check and terrorist
        assessment like that done for aviation workers on the persons seeking access to
        SSI, or based on the sensitivity of the information, the Transportation Security
        Administration or DHS demonstrates that such access to the information for the
        proceeding presents a risk of harm to the nation: Provided, That notwithstanding
        any other provision of law, an order granting access to SSI under this section shall
        be immediately appealable to the United States Courts of Appeals, which shall
        have plenary review over both the evidentiary finding and the sufficiency of the
        order specifying the terms and conditions of access to the SSI in question:
        Provided further, That notwithstanding any other provision of law, the Secretary
        may assess a civil penalty of up to $50,000 for each violation of 49 CFR Part
        1520 by persons provided access to SSI under this provision.


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 access to the SSI at issue in the case.” In order to do so, he must “demonstrate[] substantial need

 of relevant SSI in the preparation of [his] case and [an inability] without undue hardship to

 obtain the substantial equivalent of the information by other means…,” essentially the same

 standard used to obtain non-opinion work product under Rule 26 of the Federal Rules of Civil

 Procedure.90 TSA advised plaintiff’s counsel on April 14th of this statutory procedure.91 He has

 not sought to invoke it.

                3.      The jury should know about the concept of Sensitive Security
                        Information.

                Part of the relief plaintiff seeks is to preclude “witnesses from mentioning or

 discussing the existence of SSI.”92 Like the context of terrorist efforts to down commercial

 airliners or to use them as missiles that plaintiff seeks to keep from the jury, the fact of SSI is

 relevant context. The practical reality is that, if the case proceeds to trial, members of the jury

 will be aware that information is being kept from them. They should know why there are gaps in

 the information they are given and that neither of the parties is responsible for withholding the

 information.

                4.      The experts should be allowed to rely on Sensitive Security
                        Information.

                Another part of the relief plaintiff seeks is to “to prohibit expert witnesses from

 assuming the existence of any procedures or policies designated SSI when forming any expert

 opinion.”93 We contend that such a prohibition cannot work. If the expert witnesses must ignore

 the procedures and policies they know to have been in place, their opinions could be unfounded,

 in violation of Rule 702 and Daubert and its progeny. In the words of Rule 702, such opinions


 90
    See Fed. R. Civ. P. 26(b)(3)(A)(ii).
 91
    Stern Decl. at ¶ 15.
 92
    Doc. No. 44 at 18.
 93
    Id. at 18.


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 might not be “based on sufficient facts or data” and might not be “the product of reliable

 principles and methods.”

                  Imagine experience has shown that, when undertaking a mission, terrorists likely

 will wear blue baseball caps and seven out of 10 times they will avoid speaking to any of the

 crewmembers onboard the airplane. This information is SSI. Both plaintiff’s and defendant’s

 experts know this information. A man wearing a blue baseball cap who spoke with one of the

 flight attendants when he boarded a flight has been removed as a potential security threat.

 Plaintiff’s expert opines that the man should not have been viewed as a security threat. Although

 she cannot disclose the SSI grounds for her opinion, she relies on the fact that the man spoke to

 the flight attendant when he boarded. The defense expert opines that the man appropriately was

 viewed as a security threat because he was wearing a blue baseball cap and three out of 10

 terrorists on a mission speak with a crewmember. He, too, cannot disclose the SSI grounds for

 his opinion. It should be apparent that, if they are required not to consider the SSI, their opinions

 will not be based on sufficient facts or data or the product of reliable principles and methods.

                  The order plaintiff requests could preclude the use of security experts in the case

 to provide any opinions on the reasonableness of the crewmembers’ actions. Such preclusion

 presumably would apply to plaintiff’s security expert as well as Southwest’s. Such a result is

 unnecessary. There are many situations in which some of the bases for an expert’s opinion are

 not shared with the jury.

                  Since 2000, the Federal Rules of Evidence have allowed experts to rely on

 inadmissible facts or data “[i]f experts in the particular field would reasonably rely on those

 kinds of facts or data in forming an opinion on the subject ….”94 Nonetheless, absent special



 94
      See Fed. R. Evid. 703, advisory committee notes.


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 circumstances, they cannot “disclose them to the jury ….”95 A similar approach can be taken

 here, allowing expert testimony based in part on SSI without disclosing the SSI to the jury.

                5.         The policy behind section 44902(b) would be harmed by hamstringing
                           air carriers in their defense of lawsuits challenging passenger
                           removals.

                As we have shown numerous times before, section 44902(b) of Title 49 reflects a

 federal policy intended to encourage air carriers to err on the side of safety. 96 “Federal law …

 appropriately grants airlines latitude in making decisions necessary to safeguard passengers from

 potential security threats. Section 44902(b) recognizes airlines’ boarding practices as a specific

 area of federal concern.”97 Handicapping an air carrier in its defense of litigation arising out of

 its exercise section 44902(b) authority would adversely affect safety. Both carriers and their

 crewmembers would be discouraged from exercising their authority by the prospect of lengthy

 litigation and the liability that necessarily would flow from having to defend cases with one hand

 tied behind their back.

                6.         The alternative is dismissing the case for lack of justiciability, not
                           handicapping Southwest.

                No doubt this case could more easily be tried if certain of the evidence could be

 disclosed to the jury. But if plaintiff has a problem with the limitations created by SSI and the

 laws concerning SSI, the answer is not to hamstring Southwest in its defense; it is to dismiss the

 case for lack of justiciability. That is how the federal courts deal with cases that can be

 prosecuted or defended only by revealing state secrets.98 “[I]f the circumstances make clear that


 95
    Fed. R. Evid. 703.
 96
    E.g., Doc. No. 37 at 13-16.
 97
    Smith v. Comair, Inc., 134 F.3d 254, 257-58 (4th Cir. 1998).
 98
    See, e.g., Tenet v. Doe, 544 U.S. 1 (2005); El-Masri v. United States, 479 F.3d 296 (4th Cir.
 2007) ; see also Al-Aulaqi v. Panetta, No. 12-1192 (RMC), 2014 U.S. Dist. LEXIS 46689, at *5
 n.5 (D.D.C. Apr. 4, 2014) (citing Totten v. United States, 92 U.S. 105, 107 (1876)); Mohamed v.
 Jeppesen Dataplan, Inc., 614 F.3d 1070, 1077 (9th Cir. 2010) (en banc)) (internal quotation


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 sensitive military secrets will be so central to the subject matter of the litigation that any attempt

 to proceed will threaten disclosure of the privileged matters, dismissal is the proper remedy.”99

        D.        Crew resource management is highly relevant to the question the jury will be
                  asked to decide.

                  In his Argument section II(B), plaintiff argues Southwest should be prohibited

 from discussing—or presenting any evidence on the concept of—crew resource management, or

 CRM.100 He reasons that the promotion of harmony, trust, and cohesion among the crew, while

 an admirable goal for Southwest, “is utterly irrelevant to permissive refusal to transport under §

 44902.”101 For either of two reasons, we again disagree.

                  First, CRM should be understood to have as its ultimate goal the management of

 human error.102 It is “the effective use of all the resources available to crewmembers, including

 each other, to achieve a safe and efficient flight.”103 As explained by Chief Pilot Leonard in his

 expert report,

                  Crew Resource Management is a comprehensive system that
                  Southwest Airlines uses to enhance crew performance…. Crew
                  Resource Management is the effective use of all the resources

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 marks omitted) (“The state secrets privilege encompasses two applications: one completely bars
 adjudication of claims based on state secrets, which requires dismissal, and the other excludes
 privileged evidence from the case, which may result in dismissal…. The state secrets privilege is
 premised on the recognition that in exceptional circumstances courts must act in the interest of
 the country’s national security to prevent disclosure of state secrets, even to the point of
 dismissing a case entirely.”).
 99
    El-Masri v. United States, 479 F.3d 296, 306 (4th Cir. 2007) (quoting Sterling v. Tenet, 416
 F.3d 338, 348 (4th Cir. 2005); DTM Research, LLC v. AT & T Corp., 245 F.3d 327, 334 (4th Cir.
 2001)) (internal quotation marks omitted).
 100
     Plaintiff does not give it that label, but CRM is what he is arguing should be excluded from
 trial.
 101
     Doc. No. 44 at 18.
 102
     See, e.g., Robert L. Helmreich, Ashleigh C. Merritt, & John A. Wilhelm, The Evolution of
 Crew Resource Management Training in Commercial Aviation, Int. J. Aviat. Psychol., 9(1), 19-
 32 (1999) (attached as Exhibit 8) (this paper provides useful background on the development of
 CRM).
 103
     14 C.F.R. § 121.907.


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                available to crewmembers, including each other, to achieve a safe
                and efficient flight…. In the past, airline captains were viewed
                with fear and reverence. The captain’s decisions were always right
                and it was considered disrespectful to question the captain. As a
                result, there was little, if any, input from co-pilots, flight engineers,
                navigators, dispatchers, ground agents or other flight crewmembers
                such as flight attendants.

                Several accidents led to recognition that steps should be taken to
                encourage other crewmembers to speak up if they had concerns
                about the safety of the captain’s decisions or actions. The idea was
                that humans are capable of errors and that engaged teams could
                prevent human errors from leading to tragedy. Initially, the new
                system was known as “cockpit resource management,” and it was
                intended to encourage cockpit crewmembers to speak up.

                More recently, cockpit resource management has become “crew
                resource management,” and its use has expanded outside of aircraft
                operations. Seeing the benefits of CRM in the airline industry,
                other industries, including healthcare, have adopted CRM.

                While earlier generations of CRM focused on error management,
                more recently threat management has become part of CRM. One
                such threat is terrorism.

                CRM encompasses a wide range of knowledge, skills, and attitudes
                including communications, situational awareness, problem solving,
                decision making and teamwork. CRM can be viewed as a
                management system that utilizes all available resources,
                equipment, procedures, and people, to promote safety and
                security.104

                Harmony, trust, and cohesion are just stepping stones toward good error

 management and the overall promotion of safety and security. Therefore, CRM’s relevance is to

 the manner in which the decision whether plaintiff’s presence on the airplane was inimical to

 safety was made.105


 104
    Doc. No. 45-2 at 23 (paragraph numbering omitted).
 105
    Southwest is by no means advocating the captain’s abdication of authority. As explained by
 pilot security trainer Elaine Bohlin, “It is still ultimately the captain’s decision based on that
 information that he gets. He will evaluate that information that is given to him, but he does so
 with the understanding that his crew is well trained and professional and will be providing him
 good information.” Bohlin Depo. (Doc. No. 36-4) at 53. “From the aspect of crew resource


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                Second, one of the expressed concerns in the harmony, trust, and cohesion area is

 that safety would be compromised were the captain to ignore the concerns of the flight

 attendants. The idea is that plaintiff’s presence on Flight 392 would be inimical to safety because

 the flight attendants who were alarmed by his behavior—and that of the other removed

 passenger—could become preoccupied.106 In both cases, the CRM issues are relevant to

 Southwest’s section 44902(b) defense.

                Also notable is the fact that this may be the issue most central to the

 determination of whether Captain Cannon acted arbitrarily or capriciously on April 15, 2013, and

 it involves little or no SSI. Plaintiff’s security expert agrees that Captain Cannon’s decision to

 bring the airplane back to the gate was the safest course of action.107 Thus, the principal focus of

 the case is the decision by Captain Cannon not to reboard the plaintiff. A decision made using

 CRM principles is at its core.

        E.      The crewmember witnesses should not be precluded from wearing in the
                courtroom the same clothing they wear on the job.

                Much like plaintiff’s desire to keep the truth about the security threats to aviation

 from the jury, he wishes also to diminish the fact that Captain Cannon has not only the privilege

 but also the awesome responsibility of being the pilot-in-command of Southwest’s Boeing 737s.

 Without a single case to support his request, he asks the Court to order Captain Cannon to refrain

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 management and also from a safety and security aspect of the flight, it’s very, very important that
 the crew is able to act as one and for the cabin crew to know that their -- their input is valued and
 they will not -- their information is not discounted. Q. Does that mean the captain is going to
 blindly follow what they say? A. No, sir.” Bohlin Depo. (Doc. No. 36-4) at 62-3.
 106
     Doc. No. 45-2 at 7 (“The ability of the cabin crew to appropriately function if they were
 preoccupied with the two passengers could be jeopardized.”); Bohlin Depo. (Doc. No. 36-4) at
 61 (“And in the absence of any further information -- or even if there was further information, he
 would still be consulting with his crew to see how this might affect them and their -- their duties
 and their ability to safely perform their duties and ensure the safety and security of others on the
 flight, their functions as flight attendants”).
 107
     Bryan Depo. (Doc. No. 36-5) at 90.


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 from wearing his uniform, and the flight attendants to refrain from wearing their uniforms, to

 trial. In other words, plaintiff seeks to preclude the crewmembers from wearing to court the very

 same uniforms they wore during the events in question. Plaintiff’s argument for such unusual

 relief is that he would be unduly prejudiced because the uniforms “would create an aura of

 authority,” thereby discouraging the jury from judging the crewmembers.108

                 To the extent that there is any law in this area, it goes against plaintiff.109 It would

 be one thing to order a party not to come to trial dressed as something he is not. It would be

 understandable, for example, that a court might prohibit a neurosurgeon from taking the stand

 dressed as Superman. We would not want someone not a priest taking the stand wearing a

 cleric’s collar. But the priest is entitled to take the witness stand with his collar in place,110 the

 rabbi with his yarmulke,111 the policeman in uniform,112 the soldier with his Army uniform.113




 108
     Doc. No. 44 at 22.
 109
     State v. Fergerstrom, 101 P.3d 652, 670 (Hawaii Ct. App.) (“[A]bsent a mode of dress that is
 obscene, disruptive, distractive, or depreciative of the solemnity of the judicial process, or that
 will create an atmosphere of unfairness, a party or a witness may decide what to wear in court.”),
 aff’d, 101 P.3d 225 (Hawaii 2004); Ryslik v. Krass, 652 A.2d 767, 769 (N.J. Super. App. Div.
 1995) (“If a party is a member of the armed services, a firefighter, or a priest, when appearing in
 court he or she should be entitled to dress in a manner ordinary to him or her.”).
 110
     E.g., O’Reilly v. New York Times Co., 692 F.2d 863, 870 n.8 (2d Cir. 1982) (“Rev. O’Reilly is
 not a lawyer who happens also to be a priest; he is a priest who happens also to be a pro se
 plaintiff in a civil action. There is little question that were he to appear at trial only as a party and
 a witness in his own behalf he would not be expected to remove his collar.”); Ryslik v. Krass,
 652 A.2d 767, 769-72 (N.J. Super. App. Div. 1995) (reversing trial court that had granted a new
 trial because plaintiff, a priest, wore his collar when he testified); State v. Hodges, 695 S.W.2d
 171 (Tenn. 1985) (defendant could not be barred from dressing as a chicken absent the trial
 judge determining that his asserted religious grounds for doing so were disingenuous).
 111
       Close-It Enterprises, Inc. v. Weinberger, 64 A.D.2d 686 (N.Y. App. Div. 2d Dep’t 1978)
 (orthodox Jew must be permitted to wear skullcap when appearing as party); see also In re
 Palmer, 386 A.2d 1112, 1116 (R.I. 1978) (same).
 112
     Edwards v. Ellis, 478 So. 2d 282, 286 (Miss. 1985) (reversal not warranted when defendant
 highway patrolman allowed to wear uniform when sued for conduct unrelated to official duties);
 Wirsing v. Krzeminski, 213 N.W.2d 37, 44 (Wis. 1973) (no error where trial court allowed
 defendant police officer to testify wearing uniform with American flag patch).


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 Appellate courts repeatedly have reversed trial judges for precluding parties or witnesses from

 wearing a uniform they were entitled to wear.114

 III.   CONCLUSION

                For the foregoing reasons, plaintiff’s Motion in Limine for Certain Pre-trial

 Orders should be denied.

 Dated: July 25, 2014                          Respectfully submitted,

                                               SOUTHWEST AIRLINES CO.
                                               By Counsel

 SCHNADER HARRISON SEGAL & LEWIS LLP

 By: /s/Jonathan M. Stern
 Jonathan Stern (Va. Bar No. 41930)
 Schnader Harrison Segal & Lewis LLP
 750 Ninth Street, N.W., Suite 550
 Washington, DC 20001-4534
 Phone: 202-419-4202
 Fax: 202-419-4252
 Email: jstern@schnader.com




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     E.g., People v. Garcia, 2010 Cal. App. Unpub. LEXIS 6947 (Cal. App. 4th Dist. Aug. 31,
 2010) (attached as Exhibit 9); Johnson v. Commonwealth, 19 Va. App. 163, 449 S.E.2d 819
 (1994) (error for trial judge to have precluded defendant from wearing his Navy uniform on the
 witness stand); cf. Forgey v. State, 886 N.E.2d 16, 21 (Ind. Ct. App. 2008) (“Johnson, however,
 can be easily distinguished from the instant matter. Here, Forgey was not on active duty when
 the trial court denied his request to wear his uniform at trial, but rather had been honorably
 discharged nearly fourteen years prior to trial. Further, had the trial court allowed Forgey to wear
 his uniform at trial, it would have been a violation of federal law….”); see also Ford v.
 Nationwide Mut. Fire Ins. Co., 214 F. Supp. 2d 11 (D. Me. 2002) (denying motion for new trial
 based on trial court’s refusal to order witness to remove American flag pin while testifying).
 114
     E.g., O’Reilly v. New York Times Co., 692 F.2d 863, 870 n.8 (2d Cir. 1982); Ryslik v. Krass,
 652 A.2d 767, 769-72 (N.J. Super. App. Div. 1995).


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                               CERTIFICATE OF SERVICE


             I hereby certify that, on this 25th day of July 2014, I

             1.     filed this Memorandum of Points and Authorities In Opposition To
                    Plaintiff’s Motion in Limine For Certain Pre-Trial Orders using the
                    Court’s ECF filing system, which will provide a copy to:

                            Thomas R. Breeden, Esq.
                            Thomas R. Breeden, P.C.
                            10326 Lomond Drive
                            Manassas, Virginia 20109
                            Telephone: (703) 361-9277; Telefax: (703) 257-2259; and

             2.     I also emailed a copy to Mr. Breeden at trb@tbreedenlaw.com.

                                    By: /s/Jonathan M. Stern
                                    Jonathan M. Stern (Va. Bar No. 41930)
                                    SCHNADER HARRISON SEGAL & LEWIS LLP
                                    750 Ninth Street, NW
                                    Suite 550
                                    Washington, DC 20001
                                    Telephone: (202) 419-4202
                                    Telefax: (202) 419-4252
                                    Email: jstern@schnader.com




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